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 1

 2

 3                                                                   The Honorable Richard A. Jones
                                                                        Trial Date: January 21, 2020
 4

 5

 6

 7                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT SEATTLE

 9   ARCELIA H. POWERS, a single woman,                   NO. 2:18-cv-01883-RAJ
10                    Plaintiff,                           WALMART INC.’S MOTION FOR
                                                           SUMMARY JUDGMENT
11           v.
                                                           NOTE ON MOTION CALENDAR:
12   WALMART, INC., a foreign corporation, dba             NOVEMBER 15, 2019
     MT. VERNON WALMART, Store #2596,
13
                      Defendant.
14

15
                                         I. RELIEF REQUESTED
16
             Defendant WALMART INC. (“Walmart”) seeks dismissal on summary judgment in a
17
     case where Plaintiff ARCELIA H. POWERS(“Plaintiff”) claims to have slipped and fallen as a
18
     result of a customer spill on the ground that was demarcated by a bright orange cone, which
19
     Plaintiff saw and knew indicated the presence of a spill on the floor.
20
                                        II. STATEMENT OF FACTS
21
         1. Underlying Incident/Plaintiff’s Allegations
22

23           This case arises out of a slip-and-fall incident alleged to have happened at a Walmart

24   store located at 2301 Freeway Drive, Mt. Vernon, Washington, on September 10, 2017 (“Mt.
25   Vernon Walmart”) (the “incident”). See Declaration of Eddy Silverman, Esq., attached hereto

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 1   as Exhibit A (describing and attesting to exhibits); see also generally Complaint for Personal

 2   Injury and Damages (“Complaint”), Dkt. #1 (Exhibit B to Walmart’s Notice of Removal).
 3
     Plaintiff is alleging, specifically, that she slipped and fell in what is believed to have been baby
 4
     food dropped by a customer approximately five minutes prior to the fall at issue. Ex. A.
 5
             The incident happened in the self-checkout area of the Mt. Vernon Walmart, which, at
 6
     the time of the incident, was being monitored by Walmart associate Michelle Chytraus. See
 7

 8   generally Chytraus Dep. (select testimony), attached hereto as Exhibit B. Chytraus responded

 9   to the customer drop/spill within approximately 2 minutes. Ex. A. She immediately placed a
10   bright orange cone directly next to the spill. See id.; see also Ex. B at 20. Chytraus testified
11
     that she placed the bright orange cone “right there [next to the spill] so nobody could get hurt.”
12
     Ex. B at 22:24; see also id. at 20:17. She swept an approximately 3-foot area with a dustpan
13
     and broom, and wiped the area down with paper towels which she left on the ground in a pile
14

15   next to the bright orange cone, to further denote that there was, or had been, a foreign

16   substance on the floor. Ex. A; see also Ex. B at 25-26. Chytraus visibly jogged around the

17   incident area as she swept and toweled. Ex. A.
18       2. Plaintiff’s Admission Regarding Seeing Cone And Knowing Cone Was Displayed To
19          Indicate Presence Of A Spill On The Floor—Both Prior To Falling

20           Counsel for Walmart took Plaintiff’s deposition on two separate days, with the second

21   day of questioning going forward on September 26, 2018, a little over a year after the alleged
22
     incident. See select/pertinent deposition testimony (Vol. II), attached hereto as Exhibit C.
23
     During this second deposition session, counsel for Walmart showed Plaintiff the surveillance
24
     footage of the incident and asked her questions regarding the same. See generally Ex. C. In
25


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 1   response to questions about whether she saw a cone on the floor prior to falling, Plaintiff

 2   testified as follows:
 3
              Q. Okay. Do you recall seeing the cone on the floor?
 4
              A. I remember seeing the cone, yes.
 5
              Q. Before you fell?
 6
              A. Yes.
 7

 8            Q. You know that for sure?

 9            A. I think that I saw it, yeah.
10            ….
11
              Q. Okay. And just to be clear, you saw the cone before you slipped? But you
12
              can’t remember whether you saw the paper towels.[1] Are both those statements
13
              correct?
14

15            A. Correct.

16   Ex. C 263:9–15, 265:23–266:2; see also id. at 267:22.

17   Plaintiff admitted that she understood, before slipping, that the cone was in place to denote the
18   presence of a foreign substance on the floor. See Ex. C at 263:22–23 (“I was thinking there
19
     was something on the floor by the cone.”). In fact, she affirmed that she understood the cone
20
     to indicate the presence of a spill on the floor, specifically. Id. at 265. Plaintiff further
21
     admitted that while she perceived the cone, and believed it was there to indicate “there was
22

23   something on the floor,” she nevertheless proceeded in the direction of the cone, within only a

24   1
       There was a pile of paper towels next to the cone, as further indication of the presence of something that either
25   was, or had been, on the floor. See Ex. B 28–30 (describing how and why paper towels were used, and why they
     remained on the floor at or around the time of the incident).

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 1   few feet of the cone, without looking at the floor. See id. at 266:23–24 (“I was not looking at

 2   the floor; that’s what I said.”); see also id. at 266:14–15, 267:15–18.
 3
                In addition to a bright orange cone, there was also a pile of paper towels on the ground,
 4
     directly to the right of the cone—approximately six-to-eight inches to the right—from
 5
     Plaintiff’s point of view. See large-size color photographs of incident area immediately before
 6
     spill, attached hereto as Exhibit D. Unlike the cone itself, which Plaintiff clearly testified that
 7

 8   she saw repeatedly, Plaintiff was unsure as to whether she saw the pile of paper towels prior to

 9   falling. See Ex. C at 262:17–18 (“I don’t remember. I think so. I don’t remember.”).2
10   However, surveillance video shows that Plaintiff stepped within a foot or less of the paper
11
     towels before purportedly slipping:
12

13

14

15

16

17

18
19

20
     See Ex. D (the above images are the same; the second is merely “zoomed in”).
21
     Plaintiff testified during her deposition that she did not remember stepping so close to the pile
22

23   of paper towels, but agreed that her left foot appeared to be within “maybe 1 [foot]” of the

24   towels based on reviewing the above images. Ex. C at 271:2–3. As one can see in these

25   2
         Compare with Ex. C at 263:11–13 (“I remember seeing the cone, yes [before the fall].”).

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 1   images, stepping so close to the paper towels means that Plaintiff was within approximately 3

 2   feet of the cone itself, which she saw prior to slipping, and understood to indicate the presence
 3
     of a spill on the floor. See Ex. D
 4
                                      III. STATEMENT OF ISSUES
 5
             Whether Walmart is entitled to summary judgment in a case where Plaintiff is seeking
 6
     relief for allegedly slipping and falling on a spill on the floor she admits to being warned about,
 7
     and where she further admits that she failed to look where she was walking, even though she
 8
     perceived such a warning.
 9
                                     IV. EVIDENCE RELIED UPON
10
             This motion is based upon the records and pleadings on file with the Court, as well as
11
     the Declaration of Eddy Silverman, Esq., attached hereto as Exhibit A.
12
                                          V. LEGAL AUTHORITY
13
     A. Standard: Motion For Summary Judgment
14
             Summary judgment is appropriate if the pleadings, depositions, answers to
15
     interrogatories, and admissions on file, together with the affidavits or declarations, if any, show
16

17   that there is no genuine issue as to any material fact and that the moving party is entitled to

18   judgment as a matter of law. FRCP 56. The moving party is entitled to judgment as a matter
19   of law when the nonmoving party fails to make a sufficient showing on an essential element of
20
     a claim in the case on which the nonmoving party has the burden of proof. Celotex Corp. v.
21
     Catrett, 477 U.S. 317, 323 (1986). There is no “genuine” issue of fact for trial where the
22
     record, taken as a whole, could not lead a rational trier of fact to find for the nonmoving party.
23

24   Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986).

25   B. Walmart Discharged Its Duty To Plaintiff By Successfully Warning Her Of The Condition
        She Claims Caused Her Injury

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 1
             For negligence claims based on premises liability, Washington has adopted the
 2
     standards set forth in the Restatement (Second) of Torts, Sections 343 and 343A (1965), which
 3
     deal with a landowner’s liability to invitees. Charlton v. Toys R Us— Delaware, Inc., 158
 4
     Wash. App. 906, 912–13 (Wash. Ct. App. 2010). Section 343 of the Restatement (Second)
 5
     provides:
 6
                      A possessor of land is subject to liability for physical harm caused
 7                    to his invitees by a condition on the land if, but only if, he
 8
                      (a)   Knows or by the exercise of reasonable care would discover
 9                          the condition, and should realize that it involves an
                            unreasonable risk of harm to such invitees, and
10
                      (b)   Should expect that they will not discover or realize the
11                          danger, or will fail to protect themselves against it, and
12
                      (c)   Fails to exercise reasonable care to protect them against the
13                          danger.

14   RESTATEMENT (SECOND) OF TORTS § 343 (1965).
15   Subsection (a) above is referred to informally in Washington and elsewhere as “the notice
16   requirement”; a landowner cannot be held liable for injuries resulting from dangerous
17   conditions on his or her premises regarding which the landowner [1] has no actual knowledge,
18   or [2] could not have obtained such knowledge “in the exercise of reasonable care.” The latter
19   type of notice can be referred to even more specifically as constructive notice (“should have
20   known”). How Washington Courts define constructive notice is the crucial part of the Court’s
21   present’s analysis, with respect to the dispositive issue before it, for the reasons that follow.
22           The Supreme Court of Washington, in Ingersoll v. DeBartolo, Inc., 123 Wash. 2d 649
23   (1994) (en banc), defined constructive notice as follows:
24                    Constructive notice arises where the condition “has existed for
25                    such time as would have afforded [the proprietor] sufficient
                      opportunity, in the exercise of ordinary care, to have made a proper

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 1                       inspection of the premises and to have removed the danger.” The
                         plaintiff must establish that the defendant had, or should have had,
 2                       knowledge of the dangerous condition in time to [a] remedy the
                         situation before the injury or [b] to warn the plaintiff of the
 3
                         danger.
 4
     Ingersoll, 123 Wash. 2d at 652 (emphasis added).
 5
     Walmart submits that this definition of constructive notice is “the crucial part” of the
 6
     dispositive inquiry in this case because in Ingersoll et al., Washington Courts made clear that
 7
     either (a) “remedying” a potentially hazardous condition or (b) warning an invitee of the
 8
     condition dischargers a proprietor’s duty. See Stimus v. Hagstrom, 88 Wash. App. 286, 293
 9
     (Wash. Ct. App. 1997) (finding that Section 343 of the Restatement (Second) of Torts “implies
10
     that the possessor of the property will take reasonable care to ascertain the actual condition of
11
     the premises and will either [a] make it reasonably safe or give a warning of the condition and
12
     its risks”) (citing RESTATEMENT (SECOND) § 343 cmt. d).
13
            1. Walmart Successfully And Adequately Warned Plaintiff, But She Failed To Heed The
14             Warning
15
                There is no dispute in this case as to the following material facts: (1) Plaintiff saw the
16
     bright orange warning cone on the ground prior to falling3; (2) Plaintiff knew that the bright
17
     orange cone denoted that there was a spill on the floor; (3) nevertheless Plaintiff proceeded
18
     within only a few feet of the cone, without looking at the floor, and now claims to have
19
     slipped, fallen, and injured herself. On these facts, Walmart is entitled to summary judgment.
20
                Discharge of duty to keep premises safe via adequate warning [as opposed to outright
21
     hazard-elimination] is discussed most comprehensively and clearly in the directly-on-point,
22
     persuasive decisions of other jurisdictions’ Courts.4 But see Helm v. Lowe’s Home Ctrs., LLC,
23
     3
24       Which Michelle Chytraus put out next to the spill, “right there[,] so nobody could get hurt.” Ex. B at 22:24.
     4
25     As already discussed, however, this concept, borne out of the Restatement (Second), has been discussed,
     adopted, and embraced by Washington Courts. See, e.g., Section V.B supra. The fact remains, however, that at
     the present time, full explication of this concept is more prevalent in other jurisdictions.
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 1   2017 WL 2081077 (W.D. Wash. 2017) (granting summary judgment to Lowe’s where plaintiff

 2   slipped/tripped on a warning cone—notably, even where Lowe’s “was unable to provide a

 3   factually similar Washington authority”); see also infra PartV.B.2 (explicating Helm).

 4           In one such on-point, persuasive case, Golden Corral Corp. v. Trigg, 443 S.W. 3d 515

 5   (Tex. Ct. App. 2014) [hereinafter Trigg], the court reversed and rendered judgment in favor of

 6   Golden Corral, finding that it had warned of the wet floor at issue and that the warning was

 7   adequate to discharge its duty). Notably, in the case, the plaintiff testified that she did not see

 8   the warning before she fell. Id. at 517. Plaintiff did not contest that the sign was present, but

 9   argued that the sign should have been placed where her foot slipped, and that the placement of

10   the sign several feet from where she fell allowed the jury to reasonably conclude that Golden

11   Corral’s warning was inadequate. Id. at 518. The Texas Court of Appeals was not convinced,

12   noting that, like in Washington, premises owners and occupiers owe a duty to keep their

13   premises safe against known condition that pose unreasonable risks, but holding that this duty

14   is discharged by warning the invitee. Id. (internal citations omitted).

15           In Rowell v. Hollywood Casino Shreveport, 996 So. 2d 476 (La. Ct. App. 2008), the

16   Louisiana Court of Appeals reached a similar result on similar facts. In this case, the Court

17   affirmed summary judgment in favor of Hollywood Casino after noting that photographs of the

18   scene of the accident clearly showed a yellow caution cone “in close proximity” to where the
19   plaintiff fell. Id. at 479. What the Rowell Court found “most significant,” however, was that

20   plaintiff admitted to seeing the cone upon entering the area where she fell (near the women’s

21   restroom). Id.5; see also Eure v. Kroger Ltd. P’ship I, 2012 WL 896347 (W.D. Va. 2012)

22   (granting defendant-store’s motion for summary judgment where the store placed a yellow

23

24

25   5
       See Rowell, 996 So. 2d at 479 (“Most significantly, while Ms. Rowell may take issue with the exact location of
     the wet floor cone, she admits observing the wet floor warning upon entering the women’s restroom.”).
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 1   warning cone “in the middle of the spill area,” which “was all that ordinary care required of

 2   Kroger as a premises owner”).

 3           In Pelland v. Wal-Mart Stores, Inc., 282 F. Supp. 3d 1019 (N.D. Ohio), which is

 4   perhaps the most factually similar to the present case, the United States District Court for the

 5   Northern District of Ohio granted summary judgment in favor of Walmart, the same store-

 6   defendant as in the present case, where it was “undisputed that Wal-Mart [a] placed two

 7   warning cones within a short distance of the spill, and [b] that [the plaintiff] saw these cones

 8   and [c] understood what they signified.” Id. at 1026. “Nevertheless, [the plaintiff] returned to

 9   the hazardous area and immediately slipped and fell.” Id. The evidence in the case revealed

10   that, at the time of her fall, two orange safety cones were “a few feet” in front of the plaintiff,

11   and yet she still “walked straight toward the caution cones.” Id. at 1024. The Court held that

12   “[f]aced with this undisputed evidence, a reasonable jury could conclude only that Wal-Mart

13   fulfilled its obligation to warn Pelland that the area near register 10 was wet and hazardous.”

14   Id.; C.f. Lapczynski v. Walmart Stores, Inc., 761 Fed. App. 530 (6th Cir. 2019) (granting

15   summary judgment to Walmart in a slip-and-fall case where orange caution cones displayed

16   rendered the risk of slipping on water on Walmart’s tile floor “open and obvious”).

17           The above survey of how other Courts rule when faced with strikingly similar facts

18   supports “the implication” coming out of the Restatement (Second), referenced by the
19   Washington Court of Appeals in Stimus, that warning of a potentially dangerous condition

20   discharges the premises owner’s duty to invitees to keep premises reasonably safe, and that

21   placing cones within a few feet of a potentially hazardous condition constitutes adequate

22   warning. Notably, the above cases support summary judgment when cones are placed even

23   where the plaintiff denies ever seeing the cones, simply based on the objective placement and

24   adequacy of the cone-placement. The case at bar case presents a fairly unique situation in that

25   the Plaintiff in this case not only (a) saw the warning cone and (b) knew what the warning cone


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 1   meant, she (c) proceeded in the exact direction of the warning cone and allegedly fell victim to

 2   the very hazard she admits she was informed regarding—again, most like the Pelland case

 3   supra. So, “faced with this undisputed evidence,” like in Pelland, a reasonable jury in this case

 4   could reach only one conclusion too, that Walmart fulfilled its obligation to Plaintiff, and it is

 5   for this and the other reasons discussed herein that summary judgment in proper in this case.

 6       2. Plaintiff’s Position Is Untenable Because It Would, Implicitly Or Otherwise, Impose A
            Legal Duty To Provide Visitors “Warning Upon Warning, Ad Infinitum”
 7
             As discussed supra, Washington has not examined the discharge-of-duty-via-warning
 8
     issue as closely or directly as other jurisdictions. Perhaps the best and most comprehensive
 9
     examination of these sorts of issues is in Helm v. Lowe’s Home Ctrs., LLC, 2017 WL 2081077
10
     (W.D. Washington), another Western District case. Helm is noteworthy in that the Court there
11
     granted summary judgment like in the extra-jurisdictional cases cited supra; however, the
12
     Court did so pursuant to some fairly distinct, and unique reasoning—and in that the Helm case
13
     involved a plaintiff who actually tripped on a warning cone, in a bit of irony.
14
             The initial reasoning from the Court in the Helm decision reads like this Motion in that
15
     the Court referenced the fact that Washington has adopted the Restatement (Second) and
16
     Section 343 of the same specifically. See Helm, 2017 WL 2081077, at *2. The Helm decision
17
     also reads like this brief insofar as the defendant there, Lowe’s, was unable to provide a
18
     factually similar Washington authority directly on point (but was able to find on point
19
     authorities from other jurisdictions). Ultimately, in granting summary judgment to Lowe’s, the
20
     Court adopted the position of the persuasive Court, which had held that establishing a duty to
21
     warn of a safety cone “invites us to impose on land possessors a legal duty to provide visitors
22
     warning upon warning, ad infinitum.” Id. (internal citations omitted). The Helm Court noted
23
     that the plaintiff admitted that he saw the “bright yellow” cone before he tripped over it, and
24
     thus concluded that the cone was an open and obvious marker, and that therefore any actual
25


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 1   danger of tripping over the cone could have been avoided by plaintiff exercising reasonable

 2   care. Id. at *3. Thus, the Court concluded that Helm’s position was “untenable.” Id.

 3           Walmart hereby submits that the rationale in Helm is applicable to this case, and that

 4   therefore Plaintiff’s position here is equally “untenable.” Like in Helm, the Plaintiff in this

 5   case admits that she saw a brightly colored warning cone before she slipped, and that she knew

 6   why the cone was present (to indicate that a spill was, or had been on the floor). Thus, like in

 7   Helm, the cone was “an open and obvious warning marker.” Despite seeing the cone, however,

 8   and knowing what it meant, the Plaintiff did not look where she was going and/or look at the

 9   floor at all while she walked directly within a few feet of the cone. So, like in Helm, one could

10   conclude that any danger of tripping could have been avoided by Plaintiff exercising

11   reasonable care. And so finally, once again like in Helm, this case presents a kind of logical

12   quandary: if Plaintiff admits that saw the cone, knew of the danger, but ignored the warning

13   and allegedly fell victim to the danger as a result of that failure, what more could Walmart do

14   under the circumstances to insulate itself from liability? This is a similar but different “ad

15   infinitum” situation wherein Walmart, as the possessor of land, seemingly cannot discharge its

16   duty in all of the ways allowed for in the Restatement (Second)—e.g., by clear warning,

17   adequately received and understood.

18   C. Walmart Is Not Liable To Plaintiff For Physical Harm Caused To Her By A Condition On
        Land Whose Danger Was Known And/Or Obvious To Her
19
             Section 343A of the Restatement (Second) of Torts holds that a possessor of land is not
20
     liable to his invitees for physical harm caused to them by a condition on the land whose
21
     dangerous is known or obvious to them, unless the possessor should anticipate the harm despite
22
     such knowledge or obviousness. RESTATEMENT (SECOND) OF TORTS §343A(1). Such reason to
23
     “anticipate” harm even from known or obvious dangers may arise where, for example, the
24
     possessor has reason to expect that the invitee’s attention my be distracted, so that she will not
25


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 1   discover what is obvious. Id., cmt. f. Incidentally, the remedy in a still-anticipated-harm

 2   situation is, typically, to warn the invitee (which was done successfully in this case). See id.

 3              Although a land possessor is under a duty to his invitees, he is not ordinarily found

 4   negligent for injuries to those from conditions that are open and obvious. Nowlan v. U.S., 73

 5   F.3d 370 (9th Cir. 1995); see also Kamla v. Space Needle Corp., 147 Wash. 2d 114, 127 (2002)

 6   (en banc) (affirming trial court’s dismissal on summary judgment grounded on finding that

 7   “the defendant is not liable for plaintiff’s failure to avoid an open, obvious potential hazard

 8   about which he was aware and warned.”). Conditions that might not otherwise be “open and

 9   obvious” can and do become so when invitees are warned about those conditions, and become

10   “knowledgeable” about them. See, e.g., Lapczynski, supra (concluding that the risk of slipping

11   on water was open and obvious by virtue of the placement of orange warning cones).

12              That the alleged dangerous condition in this case was known and/or “open and

13   obvious” to Plaintiff is undisputed. Plaintiff saw a bright orange warning cone and “was

14   thinking there was something on the floor by the cone.” Ex. C at 263:22–23; see also id. at

15   265:10 (conceding that she understood the cone to mean that there was a spill on the floor,

16   specifically). Now Plaintiff contended during her deposition that the spill was “far away [from

17   the cone]…when I was walking through,” and claimed that she thought the spill was nearer to

18   the cone,6 but the surveillance video simply does not support that Plaintiff walked “far away”
19   from where the cone was.

20              Surveillance video makes clear that Plaintiff walked with only a few feet of a cone she

21   knew indicated the presence of a spill on the floor—and within mere inches of a pile of paper

22   towels. Plaintiff may try to argue that Walmart had some sort of heightened duty to her under

23   the circumstances and/or that Walmart should have done more “in anticipation of harm”

24   despite the obviousness of the condition at issue; however, as alluded to above, the typical

25
     6
         See Ex. C at 264:22–265.
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 1   remedy in a still-anticipated-harm situation is a warning,7 which Plaintiff undisputedly

 2   received, absorbed, and understood. This analysis is therefore not applicable to the instant

 3   situation because there is no dispute that Plaintiff was acutely and expressly aware of the

 4   condition at issue. And so any argument that Walmart “should have done more” is unavailing,

 5   and so, under Restatement (Second) of Torts § 343A, Walmart is not liable to Plaintiff for

 6   physical harm caused to her by a condition on land whose dangerous was known and/or

 7   obvious to her.

 8   D. Whether Or Not There Was Still Foreign Material On The Ground Is Immaterial To The
        Dispositive Issue
 9
              Plaintiff can and will quibble about the adequacy of the clean-up of the spill—Plaintiff
10
     will try to draw the focus of the summary judgment argument there, but this is wrong and
11
     misleading, and so it is important that the Court mind the distinction between (a) remedying
12
     versus (b) warning in the context of potentially or allegedly dangerous conditions—two
13
     separate ways to discharge duty. Focus on the former misses the heart of the dispositive issue
14
     that is the basis of Walmart’s Motion for Summary Judgment.
15
              Washington cases make clear that there are not one but two avenues available to a
16
     premises owner to discharge his or her duty to invitees where there is a dangerous condition on
17
     the premises: (1) remedy the dangerous condition, i.e. remove it, or (2) warn the invitee that
18
     the potentially dangerous condition exists. See, e.g., Tincani v. Inland Empire Zoological Soc.,
19
     124 Wash. 2d 121, 138–40 (1994) (en banc) (discussing landowner’s duties to warn invitees,
20
     and referring to alternative responsibilities, grounded in the restatement, “to [a] warn of, or [b]
21
     make safe a known or obvious danger”).
22

23

24
     7
25    The idea here is making sure a specific invitee is made expressly aware of a potentially dangerous condition that
     might be obvious to others but not to the specific invitee for some particular reason, which is plainly not at issue
     here, because Plaintiff was aware of the potentially dangerous condition at issue.
     WALMART INC.’S MOTION FOR SUMMARY JUDGMENT - 13                                Williams, Kastner & Gibbs PLLC
                                                                                    601 Union Street, Suite 4100
                                                                                    Seattle, Washington 98101-2380
                                                                                    (206) 628-6600

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 1                                                VI. CONCLUSION

 2            The Plaintiff in this case, in her own words, admitted that she saw a warning sign, knew

 3   what it meant, ignored the warning, and fell victim to the condition the warning was designed

 4   to guard against. In light of these undisputed facts, a reasonable jury could only conclude that

 5   it was Plaintiff’s failure to exercise reasonable care, and not Walmart’s, that proximately

 6   caused any fall and/or resulting damages. These facts are not merely the basis for comparative

 7   negligence in a case like this8; they establish, as a matter of law, that Walmart effectively and

 8   undisputedly discharged its duty to Plaintiff as defined in the Restatement (Second), and under

 9   Washington law, to remedy a hazard or warn of it. Based on and in light of the foregoing,

10   Walmart respectfully requests that this Court grant Walmart’s Motion for Summary Judgment.

11            DATED this 23rd day of October, 2019.

12
                                                                WILLIAMS, KASTNER & GIBBS PLLC
13

14                                                              By s/Eddy Silverman
                                                                  Rodney L. Umberger, WSBA No. 24948
15                                                                Eddy Silverman, WSBA No. 53494

16                                                              Two Union Square
                                                                601 Union Street, Suite 4100
17                                                              Seattle, WA 98101-2380
                                                                Phone: 206.628.6600
18                                                              Fax:     206.628.6611
                                                                Email: rumberger@williamskastner.com
19                                                                       esilverman@williamskastner.com

20                                                              Couns
                                                                    e lfor De fe ndant W alm art Inc.

21

22   8
       Compare RESTATEMENT (SECOND) OF TORTS § 343A, cmt. f (describing unique situation in which a possessor of
23   land has reason to expect than an invitee will proceed to encounter even known or obvious danger because the
     advantages outweigh the apparent risk, in which cases “the fact the danger is known, or is obvious, is important in
24   determining whether the invitee is to be charged with contributory negligence, or assumption of risk….[but not]
     conclusive in determining the duty of the possession, or whether he has acted reasonably under the
25   circumstances.”). In other words, landowners are not liable when plaintiffs are injured by dangerous conditions
     known or obvious to those individuals, and this is a dipositive, duty-absolving issues, except in and under the
     unique circumstances outlined supra in this note and in comment “f” to the Restatement (Second) § 343A.
     WALMART INC.’S MOTION FOR SUMMARY JUDGMENT - 14                               Williams, Kastner & Gibbs PLLC
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                                                                                   Seattle, Washington 98101-2380
                                                                                   (206) 628-6600

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 1                                     CERTIFICATE OF SERVICE
 2               The undersigned certifies under penalty of perjury under the laws of the State of

 3   Washington that on the date indicated below, I caused service of a true and correct copy of the

 4   foregoing document in the manner indicated below to:

 5    Thomas J. West, WSBA No. 5857                          U.S. Mail
      WEST LAW FIRM, P.S.
 6    524 Tacoma Avenue South                                E-mail, per E-Service Agreement 9/19/18
      Tacoma, WA 98402                                       CM/ECF
 7    Phone: 253.383.4704                                    Hand Delivery/Legal Messenger
      Fax: 253.383.7244                                      Facsimile
 8    Email: tom@westlawtacoma.com
             heather@westlawtacoma.com
 9    Attorne y for Plaintiff

10
             Signed at Seattle, Washington this 23rd day of October, 2019.
11
                                                        WILLIAMS, KASTNER & GIBBS PLLC
12

13                                                      By s/Jaimisha Steward
                                                          Jaimisha Steward, Legal Assistant
14

15

16

17

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     WALMART INC.’S MOTION FOR SUMMARY JUDGMENT - 15                     Williams, Kastner & Gibbs PLLC
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                                                                         Seattle, Washington 98101-2380
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 1

 2

 3                                                                     The Honorable Richard A. Jones
                                                                          Trial Date: January 21, 2020
 4

 5

 6

 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9   ARCELIA H. POWERS, a single woman,                     NO. 2:18-cv-01883-RAJ
10                  Plaintiff,                              DECLARATION OF EDDY
                                                            SILVERMAN, ESQ., IN SUPPORT OF
11           v.                                             MOTION FOR SUMMARY JUDGMENT
12   WALMART, INC., a foreign corporation, dba
     MT. VERNON WALMART, Store #2596,
13
                    Defendant.
14

15           I, Eddy Silverman, Esq., hereby declare and say:
16           1.     That I am an attorney at the law firm of WILLIAMS, KASTNER & GIBBS
17   PLLC, and I am licensed to practice law in this Court.
18           2.     I am over the age of eighteen and a U.S. citizen. I have personal knowledge of
19   the facts referred to in this Declaration and could competently testify to these facts if called
20   upon to do so in a court of law.
21           3.     Along with Rodney Umberger, I represent Defendant WALMART INC.
22   (“Walmart”) in the above captioned matter, and I am making this Declaration in support of
23   Walmart’s Motion for Summary Judgment (“Motion”).
24           4.     The events in question out of which the above referenced lawsuit arises were
25   captured in full by Walmart surveillance cameras, meaning (a) the customer spill, (b) spill


     DECLARATION OF EDDY SILVERMAN, ESQ., IN SUPPORT OF                  Williams, Kastner & Gibbs PLLC
                                                                         601 Union Street, Suite 4100
     MOTION FOR SUMMARY JUDGMENT - 1                                     Seattle, Washington 98101-2380
                                                                         (206) 628-6600

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 1   clean-up by Walmart associate Michelle Chytraus, and (c) Plaintiff’s fall were all captured on

 2   video. My office produced a copy of this surveillance video to Plaintiff’s counsel, and showed

 3   Plaintiff the video during the second day of deposition questioning of her (her deposition took

 4   place over two days). In this video, one can see a young child customer, checking out with her

 5   mother, drop an item to the floor at approximately 3:33.45 p.m. on the date of the incident.

 6   Michelle Chytraus begins walking towards the area of the spill at approximately 3:34:36, less

 7   than a minute after the spill. Chytraus places a bright orange cone next to the dropped item at

 8   approximately 3:35:13. She then proceeds to sweep the area with a dustpan and broom, and

 9   clean and dry the floor with paper towels. Chytraus leaves a pile of paper towels next to the

10   cone before leaving the demarcated area to continue assisting customers. Plaintiff’s purported

11   slip and fall occurs at approximately 3:38:42 p.m., almost five minute exactly after the spill at

12   issue. The foregoing is a truthful and accurate recounting of the surveillance video in this case,

13   which Walmart can and will produce at the Court’s request.

14           5.     This declaration is identifiable as Exhibit A to Walmart’s Motion.
15           6.     Attached hereto as Exhibit B are true and complete excerpts from a certified
16   copy of the deposition transcript of Michelle Chytraus related to the above referenced matter.

17           7.     Attached hereto as Exhibit C are true and complete excerpts from a certified
18   copy of the deposition transcript of Plaintiff Arcelia Powers (Vol. II) related to the above
19   referenced matter.

20           8.     Attached hereto as Exhibit D are true and accurate screenshots captured from
21   the surveillance video in this case.

22           I declare under penalty of perjury under the laws of the United States and of the State of

23   Washington that the foregoing is true and correct.

24

25


     DECLARATION OF EDDY SILVERMAN, ESQ., IN SUPPORT OF                 Williams, Kastner & Gibbs PLLC
                                                                        601 Union Street, Suite 4100
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                                                                        (206) 628-6600

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 1           DATED this 23rd day of October, 2019.

 2

 3
                                                     By s/Eddy Silverman
 4                                                      Eddy Silverman, WSBA No. 53494

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     DECLARATION OF EDDY SILVERMAN, ESQ., IN SUPPORT OF           Williams, Kastner & Gibbs PLLC
                                                                  601 Union Street, Suite 4100
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                     UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON
                                 AT SEATTLE
------------------------------------------------------------
ARCELIA H. POWERS, a single woman, )
                                               )
                          Plaintiff,           )
                                               )
      vs.                                      ) No. C18-1883 RAJ
                                               )
WALMART, INC., a foreign                       )
corporation, dba MT. VERNON                    )
WALMART, Store #2596,                          )
                                               )
                          Defendant.           )
------------------------------------------------------------
                 DEPOSITION UPON ORAL EXAMINATION
                                     OF
              MICHELLE CHYTRAUS fna MICHELLE FINCHUM
------------------------------------------------------------
                              March 13, 2019
                          Seattle, Washington


                              * * * * * * *




                                REPORTED BY:
                    Allison O'Brien, CCR No. 2163
                        3641 N. Pearl Street, #D
                             Tacoma, WA 98407
                              (253) 627-2062



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                                                                              Page 20
1          Q.     Okay.     When you say a bright orange flag, what are

2    you --

3          A.     Or excuse me.        A cone.     It was a cone.

4          Q.     Yeah, I don't remember seeing a flag.

5          A.     No.

6          Q.     So there was a cone right there underneath one of

7    the counters where you were working, correct?

8          A.     I looked for it, yes, because it was.

9          Q.     Okay.

10         A.     It was in there, yes.

11         Q.     All right.       How long did it take you to find it?

12         A.     Not very long.

13         Q.     Okay.     A few seconds?

14         A.     Yeah.

15         Q.     All right.       And then after you found the orange

16   cone, what did you do?

17         A.     I put it out next to the spill.

18         Q.     Okay.     And the spill we're talking about, what was

19   the size of the spill?          Was it the size of -- you know, a

20   foot wide, or was it just contained within the bottle to

21   some extent?       How would you describe it in terms of size?

22         A.     It was one of the little jars.

23         Q.     Right.

24         A.     And it had fallen, okay?            So it was little.        And

25   then it had -- the glass had broken a little bit and it had



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                          DEPOSITION OF MICHELLE CHYTRAUS, 03-13-19


                                                                              Page 22
1    it just in one direction that it was 2 feet and the rest was

2    say, you know, 6 inches?           I mean, I don't know.          I'm just

3    trying to get an idea of what the shape of the spill was, if

4    you remember.        I realize it was a long time ago.

5          A.     Right.     It seemed to go more towards where my

6    counter was.

7          Q.     Okay.     All right.      So it was -- it was a -- it was

8    a 2-inch -- or 2 feet long, but it wasn't as wide?

9          A.     No, I wouldn't say it was 2 feet long, no.                  It was

10   in the area, and it had splatted.

11         Q.     Okay.     Had it splatted in a 2-feet -- 2-foot

12   circle?

13         A.     When I say splatted, I meant like it just -- there

14   was some broken glass, but there was dots.                  So it wasn't

15   like a 2-foot big smear mess, no.

16         Q.     Okay.     All right.      So most of it was clumped

17   together in one particular area?

18         A.     Right, yeah.

19         Q.     And then little splatters outside that?

20         A.     A couple, yes.

21         Q.     Okay.     So you went over there and you put the cone

22   down next to the -- where it was.              How far was the cone from

23   the splattered area?

24         A.     It was right there so nobody could get hurt.

25         Q.     When you say right there, was it on top of it or



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                                                                              Page 25
1          A.     Paper towels.

2          Q.     All right.       So what did you do first when you

3    gathered up the paper towels that you had?                  And by the way,

4    did you have to go somewhere else to get paper towels?

5          A.     I had to go up to where my station was.

6          Q.     And how far is that from the splatter?

7          A.     I'd guess 10 feet maybe.

8          Q.     Okay.     So again, just a matter of a few seconds

9    for you to get that?

10         A.     Right.

11         Q.     Okay.     So did you go get the broom and the dustpan

12   and then go over and get the paper towels, or vice versa?

13         A.     No, I did the -- I got the broom and dustpan and

14   cleaned it up first.

15         Q.     Okay.     And so you're cleaning up the glass and --

16         A.     Correct.

17         Q.     -- whatever goop that was there that would come up

18   with it.     In other words, most of the substance of the spill

19   is what you were trying to pick up?

20         A.     Yes, correct.

21         Q.     Okay.     But even with that, after that, there's

22   still stuff on the floor that you needed to clean up,

23   correct?

24                        MR. SILVERMAN:       Objection to form.

25         A.     No.     It was cleaned up.        It was just a wet mark.



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                             DEPOSITION OF MICHELLE CHYTRAUS, 03-13-19


                                                                              Page 26
1            Q.      A wet mark?

2            A.      Right.

3            Q.      Okay.     So with the -- with the broom -- just so I

4    understand, with the broom and the dustpan, you were able to

5    get all the baby food and the glass cleaned up and into the

6    dustpan and the only thing left after you did that was what

7    again?

8            A.      There was -- it's like when the rain hits cement.

9    There's a wet mark.

10           Q.      Okay.

11           A.      Okay.     Because it was cement.          So that's why I

12   went and got the paper towels.

13           Q.      Well, I understand.          But the baby food is not

14   rain.        Baby food is a different substance, correct?

15           A.      Right.

16           Q.      Okay.

17           A.      Correct.

18           Q.      So, but nonetheless you're indicating that

19   basically there's a wet mark there, correct?

20           A.      Yes.

21           Q.      Okay.     And by wet mark, are you including the area

22   where the splatter was that was 2 feet apart?

23           A.      Yes.

24           Q.      Okay.     So we're dealing with a wet mark, as you've

25   described it, that's roughly 2 feet long and maybe not as



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                                                                              Page 28
1    set that up, okay?         And then I helped a gentleman or a

2    woman -- I helped somebody with alcohol.

3          Q.     Well, let me ask just so I can set the time frame

4    on this correctly.

5          A.     Okay.

6          Q.     When you're talking about you -- you were doing

7    other things, are you talking about doing other things

8    before you wiped up the area with the paper towel, or after?

9          A.     I took care of -- I believe I took care of the

10   mess, and then --

11         Q.     Well, wait.       Could you answer my question?

12         A.     Okay.

13         Q.     First we start out with the broom and the dustpan?

14         A.     Right.

15         Q.     And then you take the dustpan full of the stuff --

16         A.     Right.

17         Q.     -- and you take it and you dump it in a garbage

18   pail somewhere, correct?

19         A.     Into a box.

20         Q.     Into a box?

21         A.     Correct.

22         Q.     Okay.     And then what did you do?            Did you go --

23   let me ask you this:          Did you then immediately go get the

24   paper towels?

25         A.     Yes.



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                                                                              Page 29
1            Q.      And then go immediately to the spill area and wipe

2    up what you thought was the rest of the spill?

3            A.      Correct.

4            Q.      Okay.     And so between the time you started

5    cleaning the mess, you didn't stop to do anything else, if

6    you recall?

7            A.      Right.     I didn't leave that area until I felt

8    safe.

9            Q.      Okay.

10           A.      That everybody else would feel safe, you know.

11           Q.      All right.       So basically what -- what did you do

12   with the paper towels when you were done wiping up the area?

13           A.      I left them there.

14           Q.      Okay.

15           A.      So that people would know that Maintenance was on

16   the way just to -- now, okay.                I had cleaned it, okay?       You

17   have to call Maintenance.              And had I taken the -- the orange

18   cone away, Maintenance wouldn't have known where to go,

19   okay?        So I left that out as -- so Maintenance would know

20   exactly where to clean and that nobody would walk within

21   that area.        It was not slippery, okay?             Hazmat would be dish

22   soap, detergent, that sort of thing, where you need what's

23   called Spill Magic.            It didn't need it because it was not a

24   slippery substance.

25           Q.      Okay.     So after you wiped up the spill with the



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                                                                              Page 30
1    paper towel and left the paper towel in that area, was it --

2    did you leave the paper towel next -- was it on the spill

3    area itself, or did you put it next to the cone?

4                         MR. SILVERMAN:       Objection to form.

5           Q.    In other words, the area that you cleaned up, did

6    you leave the paper towels over the area that you cleaned

7    up, or did you take the paper towels and move them to an

8    area next to the cone, if you recall?

9                         MR. SILVERMAN:       Same objection.

10          A.    I left it over where the mark was.

11          Q.    Okay.     So you -- you left the paper towels over

12   the area that you had cleaned up; is that right?

13          A.    I believe.

14          Q.    You believe, okay.

15          Have you seen the video of this incident?

16          A.    I have.

17          Q.    When did you see it?

18          A.    Oh, I saw it last week.

19          Q.    Okay.

20          A.    And I saw it like a month ago.

21          Q.    Okay.     So you've seen it last week and a month

22   ago?

23          A.    Correct.

24          Q.    And your recollection is that what you did is you

25   put the paper towels on the area that would otherwise be



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                         DEPOSITION OF MICHELLE CHYTRAUS, 03-13-19


                                                                              Page 60
1                                    CERTIFICATE
2    STATE OF WASHINGTON )

                               ) ss.
3    COUNTY OF KING            )
4          I, the undersigned Washington Certified Court Reporter,
5    pursuant to RCW 5.28.010 authorized to administer oaths and
6    affirmations in and for the State of Washington, do hereby
7    certify:
8          That the annexed and foregoing deposition consisting of
9    page 1 through 59 of the testimony of each witness named
10   herein was taken stenographically before me and reduced to a
11   typed format under my direction;
12         I further certify that according to CR30(e) the witness
13   was given the opportunity to examine, read and sign the
14   deposition after the same was transcribed, unless indicated
15   in the record that the review was waived;
16         I further certify that all objections made at the time
17   of said examination to my qualifications or the manner of
18   taking the deposition or to the conduct of any party have
19   been noted by me upon each said deposition;
20         I further certify that I am not a relative or employee
21   of any such attorney or counsel, and that I am not
22   financially interested in the said action or the outcome
23   thereof;
24         I further certify that each witness before examination
25   was by me duly sworn or affirmed to testify the truth, the



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                         DEPOSITION OF MICHELLE CHYTRAUS, 03-13-19


                                                                              Page 61
1    whole truth, and nothing but the truth;
2          I further certify that the deposition, as transcribed,
3    is a full, true and correct transcript of the testimony,
4    including questions and answers, and all objections, motions
5    and exceptions of counsel made and taken at the time of the
6    foregoing examination and was prepared pursuant to
7    Washington Administrative Code 308-14-135, the transcript
8    preparation format guideline, to the best of my ability;
9          I further certify that I am sealing, or causing to be
10   sealed, the deposition in an envelope with the title of the
11   above cause and the name of the witness visible and I am
12   delivering the same to the appropriate authority.
13         I further advise you that as a matter of firm policy,
14   the stenographic notes of this transcript will be destroyed
15   three years from the date appearing on this certificate
16   unless notice is received otherwise from any party or
17   counsel thereto on or before said date.
18         IN WITNESS WHEREOF, I have hereunto set my hand and
19   affixed my Washington State CCR seal March 19, 2019.
20
21                                    /s/ Allison O'Brien
                                      __________________________________
22                                    Allison O'Brien
                                      Certified Court Reporter No. 2163
23                                    in and for the State of Washington,
                                      residing at Seattle, Washington.
24
25



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·1· · · · · SUPERIOR COURT OF THE STATE OF WASHINGTON

·2·        · · · · · · · · · · · SKAGIT COUNTY
· ·        ·________________________________________________________
·3
· ·        ·ARCELIA H. POWERS, a single· ·)
·4·        ·woman,· · · · · · · · · · · · )
· ·        · · · · · · · · · · · · · · · ·)
·5·        · · · · · · · · Plaintiff,· · ·)
· ·        · · · · · · · · · · · · · · · ·)
·6·        ·vs.· · · · · · · · · · · · · ·) No. 18-2-00337-29
· ·        · · · · · · · · · · · · · · · ·)
·7·        ·WALMART, INC., a foreign· · · )
· ·        ·corporation, dba MT. VERNON· ·)
·8·        ·WALMART, Store #2596,· · · · ·)
· ·        · · · · · · · · · · · · · · · ·)
·9·        · · · · · · · · Defendant.· · ·)
· ·        ·________________________________________________________
10
· ·        · · · · · ·DEPOSITION UPON ORAL EXAMINATION OF
11
· ·        · · · · · · · · · · ARCELIA H. POWERS
12
· ·        · · · · · · · · · · · VOLUME 2 of 2
13·        ·________________________________________________________

14

15

16· · · · · · · · · · · · · 9:23 A.M.

17· · · · · · · · WEDNESDAY, SEPTEMBER 26, 2018

18· · · · · · · · · ·524 TACOMA AVENUE SOUTH

19· · · · · · · · · · · TACOMA, WASHINGTON

20

21

22

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24· ·Reported by:· Tami Lynn Vondran, RPR, CCR No. 2157

25· ·Job No.: 498903
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                                                                    Page 262
·1· ·you -- is it --
·2· · · · A.· ·Looks like, yeah.
·3· · · · Q.· ·It looks like, yes, you are looking to your
·4· ·right slightly?
·5· · · · A.· ·Right.
·6· · · · Q.· ·Okay.· Is that your recollection that you were
·7· ·looking to your right for some reason at or around this
·8· ·point in time?
·9· · · · A.· ·No.
10· · · · Q.· ·Do you recall whether you were looking to your
11· ·right because you were talking to Charles Lloyd here?
12· · · · A.· ·I think -- I'm not sure.· I think that I was
13· ·looking at -- you know, sometimes people leave the
14· ·baskets by the cashier, so I was looking for a basket.
15· · · · Q.· ·Okay.· Do you recall seeing the paper towels
16· ·on the floor before you slipped?
17· · · · A.· ·I don't remember.· I think so.· I don't
18· ·remember.
19· · · · Q.· ·Okay.· You said two different things there
20· ·though, so we need to try to make sure that we've got
21· ·your answer.
22· · · · A.· ·I don't remember.
23· · · · Q.· ·You don't remember?
24· · · · A.· ·No.
25· · · · Q.· ·Okay.· At first you said, "I think so."· What

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                                                                    Page 263
·1· ·made you say that?
·2· · · · A.· ·You know, when they -- when something happened
·3· ·to you like that --
·4· · · · Q.· ·Yeah.
·5· · · · A.· ·-- it's too quick to, you know -- to notice
·6· ·everything.
·7· · · · Q.· ·Yeah.
·8· · · · A.· ·So that's why I said, "I don't remember."
·9· · · · Q.· ·Okay.· Do you recall seeing the cone on the
10· ·floor?
11· · · · A.· ·I remember seeing the cone, yes.
12· · · · Q.· ·Before you fell?
13· · · · A.· ·Yes.
14· · · · Q.· ·You know that for sure?
15· · · · A.· ·I think that I saw it, yeah.
16· · · · Q.· ·Okay.· What were you thinking when you saw the
17· ·cone?· What did that suggest to you?
18· · · · A.· ·That there was something on the floor.
19· · · · Q.· ·Okay.· So you knew there was something on the
20· ·floor before you entered what I'll refer to as the
21· ·incident area; is that correct?
22· · · · A.· ·Well, I was thinking there was something on
23· ·the floor by the cone.
24· · · · Q.· ·Okay.
25· · · · A.· ·Not where I walked by.

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·1· · · · Q.· ·Okay.· Did you -- do you believe that you took
·2· ·extra care when you were walking through the area
·3· ·because you knew that there was something on the floor?
·4· · · · · · ·MR. WEST:· Object --
·5· · · · A.· ·I --
·6· · · · · · ·MR. SILVERMAN:· Let him get his objection in.
·7· · · · · · ·MR. WEST:· Object to the form.
·8· · · · A.· ·I always care, you know.· I always care when
·9· ·I'm walking.· But it was oil.· So oily, the floor, so...
10· · · · Q.· ·(BY MR. SILVERMAN)· I'll pause -- I'll present
11· ·it to you this way.
12· · · · · · ·If I was walking and I saw a "caution, wet
13· ·floor" sign or something like that, I might be more
14· ·careful --
15· · · · A.· ·Careful.
16· · · · Q.· ·-- thinking that the floor was wet.
17· · · · · · ·Would you say that that was the way you were
18· ·acting when you saw the cone in this case?
19· · · · · · ·MR. WEST:· Object to the form.
20· · · · A.· ·Like I said, the cone was far away from what I
21· ·was walking by.
22· · · · Q.· ·(BY MR. SILVERMAN)· So does that mean that you
23· ·were not being extra careful, so to speak, when you were
24· ·walking through the area because you thought the spill
25· ·was nearer to the cone?

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                                                                    Page 265
·1· · · · · · ·MR. WEST:· Object to the form.
·2· · · · · · ·You can answer.
·3· · · · A.· ·I don't know what to say about that.
·4· · · · Q.· ·(BY MR. SILVERMAN)· I'm trying to understand
·5· ·what your mindset was.· So, for example, here, you've
·6· ·said to me, "Eddy, I saw the cone"; right?
·7· · · · A.· ·(Nodding.)
·8· · · · Q.· ·And then you've said, "I thought the spill was
·9· ·closer to the cone"; right?
10· · · · A.· ·Right.
11· · · · · · ·MR. WEST:· Object to the form.
12· · · · Q.· ·(BY MR. SILVERMAN)· What I'm trying to
13· ·understand is when you saw the cone, was there any part
14· ·of your -- or were you thinking to any extent, I should
15· ·be more careful now because there's a spill in this
16· ·area?
17· · · · · · ·MR. WEST:· Object to the form.
18· · · · A.· ·Yes, but it was far away from us when I was
19· ·walking through.
20· · · · Q.· ·(BY MR. SILVERMAN)· You thought where you were
21· ·walking there would not be an issue there?
22· · · · A.· ·That's right.
23· · · · Q.· ·Okay.· And just to be clear, you saw the cone
24· ·before you slipped?· But you can't remember whether you
25· ·saw the paper towels?· Are both those statements

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                                                                    Page 266
·1· ·correct?
·2· · · · A.· ·Correct.
·3· · · · Q.· ·Would you say you were watching where you were
·4· ·walking immediately prior to the accident?
·5· · · · · · ·MR. WEST:· Object to the form.
·6· · · · A.· ·You know, I was looking for a basket.· I was
·7· ·not looking at the floor.
·8· · · · Q.· ·(BY MR. SILVERMAN)· Okay.· So you were not
·9· ·watching where you were walking?
10· · · · · · ·MR. WEST:· Object to the form.· Argumentative.
11· · · · Q.· ·(BY MR. SILVERMAN)· It's not argumentative.
12· ·I'm just trying to understand.· I said, "Were you
13· ·watching where you were walking?· You said, "I was" --
14· · · · A.· ·I was not looking at the floor, no, I was
15· ·looking for a basket.
16· · · · Q.· ·Okay.· And, again, I'm not trying to be
17· ·argumentative.· I'm trying to pin down your answer.
18· · · · · · ·I said, "Were you watching where you were
19· ·walking?"
20· · · · · · ·You said, "I was watching -- I was looking for
21· ·a basket."· So to me it's suggesting the answer to my
22· ·question, no.· How would you answer?
23· · · · A.· ·I was not looking at the floor; that's what I
24· ·said.
25· · · · Q.· ·Okay.

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                                                                    Page 267
·1· · · · A.· ·I was careful because I always be careful, but
·2· ·I was not looking at the floor.
·3· · · · Q.· ·You know what I mean though.· If I'm looking
·4· ·where I'm walking, I'm looking in the path that I'm
·5· ·walking.· Does that make sense?
·6· · · · · · ·MR. WEST:· Object to the form.
·7· · · · A.· ·Yes.
·8· · · · Q.· ·(BY MR. SILVERMAN)· So were you watching or
·9· ·looking where you were walking immediately prior to the
10· ·accident in this case?
11· · · · · · ·MR. WEST:· Object to the form.
12· · · · · · ·You can answer.
13· · · · A.· ·(Shaking head.)
14· · · · Q.· ·(BY MR. SILVERMAN)· You're shaking your head.
15· · · · A.· ·Like I said, I was not looking at the floor.
16· · · · Q.· ·You were not looking where you were walking?
17· · · · · · ·MR. WEST:· Object to the form.
18· · · · A.· ·No, I was looking for a basket.
19· · · · Q.· ·(BY MR. SILVERMAN)· Okay.
20· · · · A.· ·So I didn't look at the floor.
21· · · · Q.· ·Okay.
22· · · · A.· ·I saw the cone.· But like I said, it was away
23· ·from the -- what I was going through.
24· · · · Q.· ·Okay.· I'm going to skip ahead a little bit
25· ·here.

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·1· · · · A.· ·In the video it looks closer than 2 feet.
·2· · · · Q.· ·Do you believe it's closer than 1 foot?
·3· · · · A.· ·Maybe 1.
·4· · · · Q.· ·Okay.
·5· · · · · · ·MR. WEST:· And we're still speaking about the
·6· ·left leg?
·7· · · · · · ·MR. SILVERMAN:· Yes, the leg that's forward in
·8· ·the frame here.
·9· · · · · · ·MR. WEST:· Right.· When she's starting to
10· ·fall?
11· · · · · · ·MR. SILVERMAN:· Yes.
12· · · · · · ·MR. WEST:· Okay.
13· · · · A.· ·Because my leg -- my left leg went to the
14· ·side.· And if it was that close --
15· · · · Q.· ·(BY MR. SILVERMAN)· Yeah.
16· · · · A.· ·-- my leg was going to touch that paper
17· ·towels.
18· · · · Q.· ·Do you remember which foot it was, your left
19· ·or your right, that slipped out from underneath you?
20· · · · A.· ·The left one.
21· · · · Q.· ·Okay.· So it was your left foot that slipped?
22· · · · A.· ·My left one went to the side and the right one
23· ·went to the floor.
24· · · · Q.· ·Do you believe that what we're looking at here
25· ·is the moment where your left foot slips?· And I could

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·1· · · · · · · · · · REPORTER'S CERTIFICATE

·2

·3· · · · · ·I, TAMI LYNN VONDRAN, the undersigned Certified

·4· ·Court Reporter, pursuant to RCW 5.28.010, authorized to

·5· ·administer oaths and affirmations in and for the State

·6· ·of Washington, do hereby certify that the sworn

·7· ·testimony and/or proceedings, a transcript of which is

·8· ·attached, was given before me at the time and place

·9· ·stated therein; that any and/or all witness(es) were

10· ·duly sworn to testify to the truth; that the sworn

11· ·testimony and/or proceedings were by me stenographically

12· ·recorded and transcribed under my supervision, to the

13· ·best of my ability; that the foregoing transcript

14· ·contains a full, true, and accurate record of all the

15· ·sworn testimony and/or proceedings given and occurring

16· ·at the time and place stated in the transcript; that a

17· ·review of which was not requested; that I am in no way

18· ·related to any party to the matter, nor to any counsel,

19· ·nor do I have any financial interest in the event of the

20· ·cause.

21· · · · · ·WITNESS MY HAND AND DIGITAL SIGNATURE THIS 5th

22· ·day of October, 2018.

23

24· ·_____________________________
· · ·TAMI LYNN VONDRAN, CCR, RPR
25· ·Washington State CCR No. 2157

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